             Case 16-70123-BHL-7A                   Doc 49   Filed 01/31/19   EOD 01/31/19 12:00:10    Pg 1 of 13




1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF INDIANA
                                                      EVANSVILLE DIVISION


              In Re:                                             §
                                                                 §
              DAVIS, TAMMY K                                     §      Case No. 16-70123-BHL-7
                                                                 §
                                  Debtor                         §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      R. Stephen LaPlante, Trustee, chapter 7 trustee, submits this Final Account, Certification
              that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 63,019.21                                Assets Exempt: 41,257.64
              (Without deducting any secured claims)

              Total Distributions to Claimants: 1,609.96                 Claims Discharged
                                                                         Without Payment: 13,528.97

              Total Expenses of Administration: 668.04


                      3) Total gross receipts of $ 2,278.00 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 2,278.00 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                                   CLAIMS            CLAIMS               CLAIMS               CLAIMS
                                                 SCHEDULED          ASSERTED             ALLOWED                PAID



SECURED CLAIMS
(from Exhibit 3)                                    $ 74,752.00               $ 887.62          $ 0.00                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                           NA                668.04          668.04                  668.04

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                   NA                    NA              NA                     NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                 300.00                  0.00            0.00                    0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                  7,465.00           11,604.31       12,491.93                 1,609.96

TOTAL DISBURSEMENTS                                 $ 82,517.00            $ 13,159.97     $ 13,159.97            $ 2,278.00


                  4) This case was originally filed under chapter 7 on 02/23/2016 . The case was pending
          for 36 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.




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     Dated: 01/29/2019                         By:           /s/R. Stephen LaPlante, Trustee
                                                             R. Stephen LaPlante, Trustee
                                                             101 N.W. First Street, Suite 116
                                                             P.O. Box 3556
                                                             Evansville, IN 47734-3556
                                                             Phone: (812) 463-6093
                                                             Fax: (812) 463-6094
                                                             Email: slaplante@keatingandlaplante.com
     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
     exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                    UNIFORM                                        $ AMOUNT
                                                                           TRAN. CODE1                                     RECEIVED

    2015 federal and state income tax r                                        1224-000                                         2,278.00

TOTAL GROSS RECEIPTS                                                                                                          $ 2,278.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                       DESCRIPTION                          UNIFORM              $ AMOUNT
                                                                                                     TRAN. CODE               PAID

NA                                                                                                      NA                            NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                      $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS

                                                   UNIFORM        CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                CLAIMANT                   TRAN.      SCHEDULED                                                   CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                    CODE      (from Form 6D)

               Fifth Third Bank                                      67,007.00                 NA                   NA                0.00


               Hoosier Accounts                                           0.00                 NA                   NA                0.00


               Old National Bank                                      7,745.00                 NA                   NA                0.00


               HOOSIER ACCOUNTS
000006         SERVI                               4210-000                NA               887.62                 0.00               0.00

TOTAL SECURED CLAIMS                                               $ 74,752.00            $ 887.62                $ 0.00           $ 0.00




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            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS           CLAIMS          CLAIMS
               PAYEE                       TRAN.                                                             CLAIMS PAID
                                                           SCHEDULED         ASSERTED        ALLOWED
                                           CODE

TRUSTEE COMPENSATION:R.
STEPHEN LAPLANTE, TRUSTEE                  2100-000                    NA          569.50         569.50             569.50


TRUSTEE EXPENSES:R. STEPHEN
LAPLANTE, TRUSTEE                          2200-000                    NA           68.54            68.54            68.54


Associated Bank                            2600-000                    NA           30.00            30.00            30.00

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA          $ 668.04       $ 668.04           $ 668.04
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS           CLAIMS          CLAIMS
               PAYEE                       TRAN.                                                             CLAIMS PAID
                                                           SCHEDULED         ASSERTED        ALLOWED
                                           CODE

NA: NA                                           NA                    NA               NA             NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA             $ NA            $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)             Claim)

            Internal Revenue Service
            c/o Central Insolvency P.O.
            Box 7346 Philadelphia, PA
            19101-7346                                             300.00                 NA              NA            0.00


            Jason Davis
            4819 Chestnut Grove Rd. Tell
            City, IN 47586                                           0.00                 NA              NA            0.00

TOTAL PRIORITY UNSECURED                                         $ 300.00              $ 0.00         $ 0.00           $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)             Claim)

            Collection Associates/CAI
            Attn:Bankruptcy Dept Po Box
            349 Greensburg, IN 47240                               139.00                 NA              NA            0.00


            Collection Associates/CAI
            Attn:Bankruptcy Dept Po Box
            349 Greensburg, IN 47240                               620.00                 NA              NA            0.00


            Credit Soltn
            Po Box 24710 Lexington, KY
            40524                                                   78.00                 NA              NA            0.00




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                6F)             Claim)

            Credit Soltn
            Po Box 24710 Lexington, KY
            40524                                                   35.00                 NA             NA            0.00


            Credit Soltn
            Po Box 24710 Lexington, KY
            40524                                                  300.00                 NA             NA            0.00


            Credit Soltn
            Po Box 24710 Lexington, KY
            40524                                                  162.00                 NA             NA            0.00


            Credit Soltn
            Po Box 24710 Lexington, KY
            40524                                                  216.00                 NA             NA            0.00


            GLA Collection Company
            Po Box 7728 Dept #2
            Lousiville, KY 40257                                    35.00                 NA             NA            0.00


            Hoosier Accounts Servi
            Po Box 4007 Evansville, IN
            47724                                                    2.00                 NA             NA            0.00


            Jason D Davis
            4819 Chestnut Grove Rd. Tell
            City, IN 47586                                           0.00                 NA             NA            0.00


            Jason Davis
            4819 Chestnut Grove Rd. Tell
            City, IN 47586                                           0.00                 NA             NA            0.00




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                                                              CLAIMS            CLAIMS
                                                UNIFORM
                                                            SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                             (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                 6F)             Claim)

            Mpcs
            5055 Newburgh Plaza Sout
            Newburgh, IN 47630                                       97.00                 NA              NA             0.00


            Synchrony Bank/Gap
            Attn: Bankrupty Po Box
            103104 Roswell, GA 30076                                663.00                 NA              NA             0.00


000005      CAPITAL ONE NA                      7100-000          1,210.00            1,210.83       1,210.83           156.05


            HOOSIER ACCOUNTS
000006      SERVI                               7100-000            368.00                0.00        887.62            114.40


            MEDICAL &
            PROFESSIONAL
000002      COLLECTION S                        7100-000             27.00              133.59        133.59             17.22


            MEDICAL &
            PROFESSIONAL
000003      COLLECTION S                        7100-000             16.00               17.47         17.47              2.25


            MEDICAL &
            PROFESSIONAL
000004      COLLECTION S                        7100-000          2,148.00            2,325.44       2,325.44           299.70


000001      OLD NATIONAL BANK                   7100-000              NA              6,582.69       6,582.69           848.38


            PORTFOLIO RECOVERY
000007      ASSOCIATES, LLC                     7100-000            749.00              734.29        734.29             94.64


            PORTFOLIO RECOVERY
000008      ASSOCIATES, LLC                     7100-000            600.00              600.00        600.00             77.32




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                            (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                                6F)              Claim)

TOTAL GENERAL UNSECURED                                         $ 7,465.00        $ 11,604.31     $ 12,491.93          $ 1,609.96
CLAIMS




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            Case 16-70123-BHL-7A                          Doc 49    Filed 01/31/19                EOD 01/31/19 12:00:10                          Pg 10 of 13
                                                                      FORM 1
                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                    Page:      1
                                                                    ASSET CASES                                                                                    Exhibit 8
Case No:             16-70123-BHL-7         Judge: Basil H. Lorch                                  Trustee Name: R. Stephen LaPlante, Trustee
Case Name:           DAVIS, TAMMY K                                                                Date Filed (f) or Converted (c):      02/23/16 (f)
                                                                                                   341(a) Meeting Date:                  04/13/16
 For Period Ending: 01/29/19
                                                                                                   Claims Bar Date:                      08/18/16


                                  1                                     2                     3                  4               5                             6
                                                                                     Estimated Net Value
                                                                                      (Value Determined       Property                                    Asset Fully
                                                                     Petition/         by Trustee, Less       Formally       Sale/Funds               Administered (FA)/
                          Asset Description                         Unscheduled       Liens, Exemptions,     Abandoned       Received by           Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values           and Other Costs)      OA=554(a)        the Estate                    Assets

 1. Single-family home,                                                  62,700.00                    0.00      OA                        0.00                FA
 3 bedroom 1 bath frame home l
 2. 1995 Ford Mustang (Location: 11510 Shelby Rd, Troy                    1,500.00                    0.00      OA                        0.00                FA
 3. Used furniture Location: 11510 Shelby Rd, Troy IN                     1,000.00                    0.00      OA                        0.00                FA
 4. Television, Cell phone (contract in Exhusbands nam                      200.00                    0.00      OA                        0.00                FA
 5. Used clothing Location: 11510 Shelby Rd, Troy IN 4                      250.00                    0.00      OA                        0.00                FA
 6. German American Bank Tell City, Indiana                                   6.52                    0.00      OA                        0.00                FA
 7. 401K retirement through Employer                                     37,000.00                    0.00      OA                        0.00                FA
 8. Unpaid wages                                                          1,276.85                  319.21      OA                        0.00                FA
 9. Life Insurance through Employer, Beneficiary: Chil                        0.00                    0.00      OA                        0.00                FA
 10. 2015 federal and state income tax r (u)                                  0.00                2,278.10                            2,278.00                FA

                                                                                                                                                  Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                     $103,933.37             $2,597.31                         $2,278.00                             $0.00
                                                                                                                                                    (Total Dollar Amount
                                                                                                                                                           in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 January 07, 2019, 11:18 am DRAFT OF TDR PREPARED, REVIEWED AND READY TO SUBMIT TO UST

 September 11, 2018, 02:02 pm Omnibus Objection to Claims filed
 August 22, 2018, 08:01 am Received $300.00 payment and withdrew Notice of Default
 August 06, 2018, 11:01 am Filed Notice of Default due to debtor's failure to complete repayment with
 2017 tax refund that was previously assigned to bankruptcy estate
 July 09, 2018, 01:15 pm Received $500.00 payment from debtor. Letter to counsel with statement
 regarding assignment of 2017 tax refund to bankruptcy estate. Calendared for follow up on 8/6/18.
 June 05, 2018, 01:09 pm Received payments from debtor on 6/4/18; received 2017 tax return from
 counsel this date
 May 25, 2018, 10:23 am Received correspondence from debtor requesting statement; no check enclosed.
 Mailed letter to debtor notifying that if payment isn't received by 7/2/18 a default will be filed
 April 13, 2018, 08:06 am Received payment from debtor with note that she was having her taxes
 prepared on 4/12/18
 February 02, 2018, 03:58 pm Letter to counsel regarding status of 2017 return and refund
 January 10, 2018, 10:14 am Received $200.00 check from debtor; Notice of Default withdrawn.
 December 27, 2017, 11:10 am Notice of Default filed 12/26/17
 August 02, 2017, 03:18 pm Received email from debtor - started a new job and her payment will be
 late, will pay by August 10
 July 25, 2017, 07:50 am Order on Motion to Compromimse and Settle entered 7/24/17 and served this
 date
 June 27, 2017, 08:52 am Received signed stipulation from debtor; motion to compromise filed.
 June 21, 2017, 03:35 pm Debtor faxed signed stipulation; emailed her and advised hard copy would
 have to be mailed
 June 01, 2017, 08:25 am Forwarded agreed stipulation to counsel regarding repayment of 2015 tax



PFORM1                                                                                                                                                              Ver: 21.00a
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                                                                FORM 1
                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                 Page:   2
                                                              ASSET CASES                                                                 Exhibit 8
Case No:            16-70123-BHL-7     Judge: Basil H. Lorch                            Trustee Name: R. Stephen LaPlante, Trustee
Case Name:          DAVIS, TAMMY K                                                      Date Filed (f) or Converted (c):   02/23/16 (f)
                                                                                        341(a) Meeting Date:               04/13/16
                                                                                        Claims Bar Date:                   08/18/16
 refund
 April 07, 2017, 01:16 pm Wrote counsel regarding repayment of 2015 tax refund

 February 26, 2016, 09:35 am Tax notice mailed
 June 10, 2016, 09:09 am Turnover order entered 6/19/16 regarding 2015 tax returns and refunds
 June 20, 2016, 03:01 pm Received 2015 tax return from counsel
 July 06, 2016, 11:14 am Mailed DSO discharge notice

 Initial Projected Date of Final Report (TFR): 06/30/17        Current Projected Date of Final Report (TFR): 06/30/19

       /s/    R. Stephen LaPlante, Trustee
 __________________________________________ Date: 01/29/19
       R. STEPHEN LAPLANTE, TRUSTEE




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                                                                            FORM 2
                                                                                                                                                                           Page:       1
                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                             Exhibit 9
 Case No:                  16-70123-BHL-7                                                              Trustee Name:                R. Stephen LaPlante, Trustee
 Case Name:                DAVIS, TAMMY K                                                              Bank Name:                   Associated Bank
                                                                                                       Account Number / CD #:        *******0999 Checking Account (Non-Interest Earn
 Taxpayer ID No:           *******3809
 For Period Ending:        01/29/19                                                                    Blanket Bond (per case limit): $ 42,291,316.00
                                                                                                       Separate Bond (if applicable):


      1                2                            3                                        4                                          5                    6                     7

 Transaction     Check or                                                                                             Uniform                           Disbursements       Account / CD
    Date         Reference               Paid To / Received From                Description Of Transaction          Trans. Code    Deposits ($)              ($)             Balance ($)

                                                                        BALANCE FORWARD                                                                                                    0.00
    07/05/17          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                     100.00
                                819 SCHILLER ST.
                                TELL CITY, IN 47586
    08/17/17          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                     200.00
                                819 SCHILLER ST.
                                TELL CITY, IN 47586
    10/09/17          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                     300.00
                                1134 6TH ST.
                                TELL CITY, IN 47586
    11/14/17          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                     400.00
                                1134 6TH ST.
                                TELL CITY, IN 47586
    01/10/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             200.00                                     600.00
                                1134 6TH ST.
                                TELL CITY, IN 47586-2304
    01/26/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             200.00                                     800.00
                                1134 6TH ST
                                TELL CITY, IN 47586-2304
    03/08/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                     900.00
                                403 BLUEWATER DR.
                                PARKER, AZ 85344
    04/13/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                 1,000.00
                                1124 6TH ST403 BLUEWATER DR.
                                TELL CITY, IN 47586-2304
    06/04/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                 1,100.00
                                403 BLUEWATER DR.
                                PARKER, AZ 85344
    06/04/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             100.00                                 1,200.00
                                403 BLUEWATER DR.
                                PARKER, AZ 85344
    06/07/18                    Associated Bank                         BANK SERVICE FEE                               2600-000                                    10.00           1,190.00
    07/09/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             500.00                                 1,690.00
                                1134 6th St.
                                Tell City, IN 47586-2304
    07/09/18                    Associated Bank                         BANK SERVICE FEE                               2600-000                                    10.00           1,680.00
    08/07/18                    Associated Bank                         BANK SERVICE FEE                               2600-000                                    10.00           1,670.00
    08/22/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             300.00                                 1,970.00
                                1134 6th ST
                                TELL CITY, IN 47586-2304
    08/30/18          10        TAMMY K DAVIS                           TAX REFUND                                     1224-000             278.00                                 2,248.00
                                1134 6TH ST
                                TELL CITY, IN 47586-2304
    12/21/18       010001       R. Stephen LaPlante, Trustee            Chapter 7 Compensation/Fees                    2100-000                                  569.50            1,678.50
                                101 N.W. First Street, Suite 116
                                P.O. Box 3556
                                Evansville, IN 47734-3556
    12/21/18       010002       R. Stephen LaPlante, Trustee            Chapter 7 Expenses                             2200-000                                    68.54           1,609.96




PFORM24 UST                                                                                                                                                                    Ver: 21.00a
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                                                                           FORM 2
                                                                                                                                                                          Page:       2
                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                            Exhibit 9
 Case No:                 16-70123-BHL-7                                                              Trustee Name:                R. Stephen LaPlante, Trustee
 Case Name:               DAVIS, TAMMY K                                                              Bank Name:                   Associated Bank
                                                                                                      Account Number / CD #:        *******0999 Checking Account (Non-Interest Earn
 Taxpayer ID No:          *******3809
 For Period Ending:       01/29/19                                                                    Blanket Bond (per case limit): $ 42,291,316.00
                                                                                                      Separate Bond (if applicable):


      1               2                            3                                       4                                           5                    6                     7

 Transaction     Check or                                                                                            Uniform                           Disbursements       Account / CD
    Date         Reference              Paid To / Received From                Description Of Transaction          Trans. Code    Deposits ($)              ($)             Balance ($)

                               101 N.W. First Street, Suite 116
                               P.O. Box 3556
                               Evansville, IN 47734-3556
    12/21/18       010003      Old National Bank                       Claim 000001, Payment 12.88804%                7100-000                                  848.38                761.58
                               PO Box 3475
                               Evansville, IN 47733
    12/21/18       010004      Medical & Professional Collection       Claim 000002, Payment 12.89019%                7100-000                                    17.22               744.36
                               Services, Inc.
                               PO Box 1116
                               Newburgh, IN 47629-1116
    12/21/18       010005      Medical & Professional Collection       Claim 000003, Payment 12.87922%                7100-000                                     2.25               742.11
                               Services, Inc.
                               PO Box 1116
                               Newburgh, IN 47629-1116
    12/21/18       010006      Medical & Professional Collection       Claim 000004, Payment 12.88788%                7100-000                                  299.70                442.41
                               Services, Inc.
                               PO Box 1116
                               Newburgh, IN 47629-1116
    12/21/18       010007      Capital One NA                          Claim 000005, Payment 12.88785%                7100-000                                  156.05                286.36
                               c/o Becket and Lee LLP
                               PO Box 3001
                               Malvern PA 19355-0701
    12/21/18       010008      Hoosier Accounts Servi                  Claim 000006, Payment 12.88840%                7100-000                                  114.40                171.96
                               Po Box 4007
                               Evansville, IN 47724
    12/21/18       010009      Portfolio Recovery Associates, LLC      Claim 000007, Payment 12.88864%                7100-000                                    94.64                   77.32
                               POB 12914
                               Norfolk VA 23541
    12/21/18       010010      Portfolio Recovery Associates, LLC      Claim 000008, Payment 12.88667%                7100-000                                    77.32                    0.00
                               POB 12914
                               Norfolk VA 23541




                                                                                                                                                  Total Of All Accounts                   0.00




PFORM24 UST                                                                                                                                                                   Ver: 21.00a
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